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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 SIERRA CLUB,                                     )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )
                                                            Case No. 3:23-cv-00919-RJD
                                                  )
 PRAIRIE STATE GENERATING                         )
 COMPANY, LLC.,                                   )
                                                  )
        Defendant.                                )


                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sierra Club and

Defendant Prairie State Generating Company, LLC hereby stipulate to the dismissal of the

above-captioned action, with prejudice, and with each party to bear its own fees and costs.



Dated: April 16, 2025


  /s/ Megan Wachspress                            /s/ Paul E. Greenwalt
  Megan Wachspress                                Paul E. Greenwalt
  Gregory E. Wannier                              Robert A.H. Middleton
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                               CERTIFICATE OF SERVICE

       On April 16, 2025, the undersigned counsel of record caused a true and correct copy of

the foregoing Stipulation of Dismissal with Prejudice to be served via email upon the counsel

of record listed below:


        Paul E. Greenwalt                               Michael P. Murphy
        Robert A.H. Middleton                           HEPLERBROOM, LLC
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                                                    Dated: April 16, 2025

                                                    /s/ Megan Wachspress
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                                                    Attorney for Plaintiff Sierra Club




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